      Case 3:21-cv-00309 Document 6 Filed on 11/15/21 in TXSD Page 1 of 33




                       UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF TEXAS
                            GALVESTON DIVISION

 THE STATE OF TEXAS,                           §
      Plaintiff,                               §
                                               §
 v.                                            §      CIVIL ACTION NO. 3:21-CV-309
                                               §
 JOSEPH R. BIDEN, in his official              §
 capacity as President of the United           §
 States, et al.,                               §
         Defendants.                           §


                       THE STATE OF TEXAS’S
             MOTION FOR TEMPORARY RESTRAINING ORDER
                   AND PRELIMINARY INJUNCTION


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      Case 3:21-cv-00309 Document 6 Filed on 11/15/21 in TXSD Page 2 of 33




        Under the pretense of increasing efficiency and economy in federal contracting,

President Biden issued an Executive Order requiring the implementation of a COVID-19

vaccine mandate on millions of Americans, forcing those who work with federal contractors

to choose between their fundamental constitutional rights and their livelihoods. 1 This

sweeping mandate is part of the President’s unconstitutional efforts to revitalize his “flagging

vaccination campaign” 2 at the cost of individual liberty. President Biden’s vaccine campaign is

intended to “affect almost every aspect of society” 3 and his weaponization of the

administrative state against federal contractors is an unprecedented overreach.

        The Texas response to COVID-19 has been to protect individual liberty while

promoting effective public health and safety measures, and Governor Abbott’s executive

orders prohibit any governmental or private entity in Texas from requiring anyone to obtain

a vaccine. 4 But President Biden has expressed disdain for this approach, announcing he would

“use [his] power as president to get [Republican governors] out of the way.” 5 Whatever

President Biden hopes to achieve politically cannot be paid for by Texans’ livelihoods or the

nullification of their Constitutional rights. Defendants and other federal agencies have already


1
    Fact Sheet: Biden Administration Announces Details of Two Major Vaccination Policies,
https://www.whitehouse.gov/briefing-room/statements-releases/2021/11/04/fact-sheet-biden-
administration-announces-details-of-two-major-vaccination-policies/ (last visited Nov. 14, 2021),
attached as Exhibit A; 86 Fed. Reg. 50,985–88 (Dkt. #1-2 at 2–5).
2
  See Tamara Keith, Biden Hopes to Boost COVID Vaccination Rates by Focusing on Federal Workers, NPR,
https://www.npr.org/2021/07/29/1022189074/biden-hopes-to-jolt-covid-vaccination-rates-by-
focusing-on-federal-workers (last visited Nov. 14, 2021).
3
  Katie Rogers and Sheryl Gay Stolberg, Biden Mandates Vaccines for Workers, Saying ‘Our Patience Is
Wearing Thin,” THE NEW YORK TIMES, https://www.nytimes.com/2021/09/09/us/politics/biden-
mandates-vaccines.html (last visited Nov. 14, 2021).
4
  Exec. Order No. GA-39 (Aug. 25, 2021), attached as Exhibit B; Exec. Order No. GA-40 (Oct. 11,
2021), attached as Exhibit C.
5
  Supra n.3.

Texas’s Motion for Temporary Restraining Order & Preliminary Injunction                            1
      Case 3:21-cv-00309 Document 6 Filed on 11/15/21 in TXSD Page 3 of 33




begun to roll out this vaccination mandate, and irreparable harm will occur each day that it is

not enjoined. Contractors are already being forced to accept the mandate for new contracts,

and federal agencies are requiring the amendment of existing contracts with little notice and

onerous deadlines—including where the State of Texas is the contractor.

        Because Defendants’ Contractor Mandate 6 is causing imminent and irreparable harm,

the State of Texas respectfully requests that the Court enter a temporary restraining order and

preliminary injunction prohibiting Defendants from implementing the Contractor Mandate

and enjoining Defendants from requiring federal contractors to receive COVID-19

vaccinations.

                                  I.       FACTUAL BACKGROUND

A.      Biden Administration’s Vaccine Policies in Response to COVID-19

        “After the President voiced his displeasure with the country’s vaccination rate in

September, the Administration pored over the U.S. Code in search of authority, or a ‘work-

around,’ for imposing a national vaccine mandate.” BST Holdings, L.L.C. v. OSHA, No. 21-

60845, slip op. at 7-8 (5th Cir. Nov. 12, 2021), attached as Exhibit D. On September 9, 2021,

President Biden announced that, through three different mandates, in excess of 80 million

American workers would be required to get vaccinated. First, through the Department of




6
 As used herein, the “Contractor Mandate” includes Executive Order 14042 (86 Fed. Reg. 50,985–88
(Dkt. #1-2 at 2–5)), the OMB Rule (86 Fed. Reg. 53,691–92 (Dkt. #1-2 at 22–23)), the Task Force
Directive (Safer Federal Workforce Task Force, COVID-19 Workplace Safety: Guidance for Federal
Contractors and Subcontractors (Dkt. #1-2 at 7–20)), and the FAR Council Directive and accompanying
Deviation Clause (Memorandum from FAR Council to Chief Acquisition Officers et al. re: Issuance
to Agency Deviations to Implement Executive Order 14042 (Sept. 30, 2021) (Dkt. #1-2 at 25–29)).

Texas’s Motion for Temporary Restraining Order & Preliminary Injunction                          2
      Case 3:21-cv-00309 Document 6 Filed on 11/15/21 in TXSD Page 4 of 33




Labor, an emergency rule would be issued “requir[ing] more Americans to be vaccinated” 7 by

imposing “new vaccination requirements” 8 that “require all employers with 100 or more

employees, that together employ over 80 million workers, to ensure their workforces are fully

vaccinated or show a negative test at least once a week.” 9 Next, President Biden announced

that the Centers for Medicare and Medicaid Services (“CMS”) would issue a rule mandating

vaccines for employees who work at healthcare facilities that accept Medicare and Medicaid. 10

Finally, the President announced that he would “sign an executive order which would require

all executive branch federal employees to be vaccinated—all.” 11 In the same breath, President

Biden also announced he had already “signed another executive order that will require federal

contractors to do the same.” 12

        Following President Biden’s remarks at the White House, he issued Executive Order

14042 (the “Executive Order”) directing the Safer Federal Workforce Task Force (the “Task

Force”) to develop guidance in accordance with his edicts. 13 The Executive Order also



7
   The Occupational Safety and Health Administration (“OSHA”) sent a proposed emergency
temporary standard (“ETS”) to the White House for review. OSHA Sends Employer Vaccine Rule to
White House for Final Review, https://news.bloomberglaw.com/daily-labor-report/osha-sends-
employer-vaccine-rule-to-white-house-for-final-review (last visited Nov. 13, 2021). The OSHA
regulation is at issue in a separate lawsuit, BST Holdings, L.L.C. v. Occupational Safety & Health Admin.,
No. 21-60845, filed in the Fifth Circuit Court of Appeals on November 5, 2021. The Fifth Circuit
immediately granted an initial administrative stay, and after expedited briefing and further
consideration, the court issued a full stay of the OSHA ETS pending judicial review. BST Holdings, slip
op. at 2.
8
   Joseph Biden, Remarks by President Biden on Fighting the Covid-19 Pandemic (Sept. 9, 2021),
https://www.whitehouse.gov/briefing-room/speeches-remarks/2021/09/09/remarks-by-president-
biden-on-fighting-the-covid-19-pandemic-3/, attached as Exhibit E.
9
  Id.
10
   Id. The State of Texas will also challenge the illegal CMS mandate in court in a separate action.
11
   Supra n.8.
12
   Id.
13
   Id.

Texas’s Motion for Temporary Restraining Order & Preliminary Injunction                                 3
      Case 3:21-cv-00309 Document 6 Filed on 11/15/21 in TXSD Page 5 of 33




required the Office of Management and Budget (“OMB”) Director to determine whether the

Task Force’s guidance would “promote economy and efficiency” in federal contracting and

required the FAR Council to “amend the [FAR] to provide for including in [f]ederal

procurement solicitations and contracts subject to this order” the contract clause discussed in

the Executive Order. 14

        On September 28, 2021, without reasoning or explanation, OMB Director Young

published a notice of determination in the Federal Register indicating that “compliance with

COVID-19 related safety protocols improves economy and efficiency by reducing

absenteeism and decreasing labor costs for contractors and subcontractors working on or in

connection with a Federal Government contract.” 15

        On September 30, 2021, the FAR Council issued its Directive. 16 The memo stipulated

that one of the stated purposes of the FAR Council Directive was to “maximize the goal of

getting more people vaccinated and decrease the spread of Covid-19.” 17 The FAR Council’s

Directive developed a “Deviation Clause” to be inserted into covered contracts and

subcontracts. The Deviation Clause imposes the Task Force’s requirements, including the

information contained in the Task Force Directive’s Frequently Asked Questions. 18 See Dkt.

#1-2 at 15–20.


14
   Id.
15
   Id.
16
   See Memorandum from FAR Council to Chief Acquisition Officers et al, re: Issuance of Agency
Deviations to Implement Executive Order 14042 (Sept. 30, 2021), available at
https://www.whitehouse.gov/wp-content/uploads/2021/09/FAR-Council-Guidance-on-Agency-
Issuance-of-Deviations-to-Implement-EO-14042.pdf (last visited Nov. 14, 2021), attached as
Exhibit F.
17
   Id.
18
   Id.

Texas’s Motion for Temporary Restraining Order & Preliminary Injunction                      4
      Case 3:21-cv-00309 Document 6 Filed on 11/15/21 in TXSD Page 6 of 33




B.      The Effect of the Vaccine Mandate on Texas

        The detrimental effects of Defendants’ illegal actions will have a swift, devastating, and

irreparable impact on the State of Texas. According to the federal government’s own publicly

available data, in the 2020-2021 fiscal year, the State of Texas (including arms of the State and

governmental entities funded in whole or in part by the State) maintained a total potential

value of prime contracts with the federal government in excess of $7.3 billion. 19 In the same

fiscal year, the State of Texas maintained a total potential value of subcontracts with the federal

government in excess of $20.3 million. 20 If the State of Texas does not acquiesce to the federal

government’s coercion, it stands to lose over $7.32 billion in future contracts. 21

        This staggering economic loss is not just an abstract number from a government

database. Defendants’ unilateral imposition of illegal conditions on these contracts has a real-

world impact on programs and businesses that will have significant consequences for the State.

For example, Texas Tech University (“Texas Tech”) has a current contract with NASA for

approximately $3 million, with an additional $1 million expected to be allocated for the final

phase of the contracted project. 22 NASA has already requested that Texas Tech modify




19
   See USA Spending, https://www.usaspending.gov/ (last visited Nov. 13, 2021). This website is “[a]n
official website of the U.S. government” and is subject to stringent and detailed reporting and accuracy
requirements. See “About,” USA Spending, https://www.usaspending.gov/about (last visited Nov.
13, 2021). Accordingly, this data falls squarely within the business and public records hearsay
exceptions, see Fed. R. Evid. 803(6), (8), and the Court can and should take judicial notice of its
contents, see Fed. R. Evid. 201. Moreover, the exhibits attached to this motion reflecting the contents
of this database are admissible as summaries in order to permit and aid in convenient examination by
the Court. See Fed. R. Evid. 1006.
20
   Id.
21
   Id.
22
   Declaration of Texas Tech University Vice Chancellor and General Counsel Eric Bentley, Exhibit
G ¶¶ 6–8.

Texas’s Motion for Temporary Restraining Order & Preliminary Injunction                               5
      Case 3:21-cv-00309 Document 6 Filed on 11/15/21 in TXSD Page 7 of 33




existing contracts. 23 Texas Tech does not want to risk losing future payments on current or

future contracts. Texas Tech stands to lose many millions of dollars from federal contracts if

it does not comply with Defendants’ vaccination requirement. 24

        The Texas Department of State Health Services (“DSHS”) maintains contracts with

the federal government in the tens of millions. 25 If DSHS fails to comply with this vaccine

mandate, programs such as vital statistics and cancer research will be detrimentally affected. 26

Specific to DSHS Community Health programs, DSHS contracts with the federal government

in excess of $8.87 million 27 which partially funds DSHS’ Texas Cancer Registry. 28 If DSHS

fails to comply with the Contractor Mandate, the Texas Cancer Registry stands to lose funding

for 11.25 new full-time positions and funding to update outdated software. 29 Further DSHS

contracts with the Pregnancy Mortality Surveillance System to provide data regarding

pregnancy-associated deaths and corresponding birth or fetal death. 30 The ability to provide

quality and accurate data to the Center for Diseases Control is of national importance; accurate

death data results in improvements in strategies to avoid preventable deaths. 31 Loss of these

federal contracting dollars would erect substantial barriers to DSHS’s ability to effectively

implement the work and mission of the agency.



23
   Email from NASA Contracting Officer Wade S. Amis, Exhibit H.
24
   Supra n.22.
25
    Declaration of the Texas Department of State Health Services Associate Commissioner for
Community Health Dr. Manda Hall, Exhibit I, ¶ 2.
26
   Id. ¶¶ 3–6.
27
   Id. ¶¶ 4.
28
   Id.
29
   Id.
30
   Id. ¶ 5-6.
31
   Id. ¶ 6.

Texas’s Motion for Temporary Restraining Order & Preliminary Injunction                        6
      Case 3:21-cv-00309 Document 6 Filed on 11/15/21 in TXSD Page 8 of 33




        The Texas Workforce Commission (“TWC”) also maintains several contracts with the

federal government worth tens of millions of dollars. One of TWC’s programs, the Vocational

Rehabilitation program, supports people with disabilities in preparing for, obtaining,

maintaining, and advancing in meaningful employment. It currently holds a contract with a

face value of just under $69 million. 32 Within Vocational Rehabilitation are programs like the

Business Enterprises of Texas (“BET”) which provide opportunities for legally blind

individuals to manage food service facilities on state, federal, and private properties. 33 One of

the many duties of the BET is to service four federal military base cafeterias within the State

of Texas. 34 TWC has already been contacted by a Contract Specialist from Joint Base San

Antonio requesting a contract modification adopting the FAR Council’s Directive. 35 Losing

any BET contracts or permits will result in substantial harm to the BET program and TWC’s

ability to provide employment opportunities for legally blind Texans. 36

        Federal data show that hundreds of other governmental entities who contract with the

United States have been or will be put in the same position as Texas Tech, DSHS, and TWC. 37

In the face of Defendants’ unlawful overreach, contractors face the same choice that they are

forced to impose on their employees: accept the unlawful conditions imposed by Defendants

or risk the federal contracts that may form the foundation of a key program or even entire


32
  Affidavit of Cheryl Fuller, Director of the Vocational Rehabilitation program of the Texas
Workforce Commission, Exhibit J, ¶ 7.
33
   Id. ¶ 3.
34
   Id. § 6.
35
   Id. ¶ 7–8.
36
   Id. ¶ 9.
37
   See 2021 Federal Prime Contracts with State Government, Exhibit K; 2021 Federal Sub Contracts
with State Government, Exhibit L. These exhibits reflect data extracted from the USA Spending
website without any substantive modification, and are admissible evidence. See supra n. 19.

Texas’s Motion for Temporary Restraining Order & Preliminary Injunction                         7
      Case 3:21-cv-00309 Document 6 Filed on 11/15/21 in TXSD Page 9 of 33




businesses. Further, because of the threat of retribution, it makes no economical or logical

sense for a federal contractor to challenge Defendants’ actions. Even if the contractor were to

succeed in Court, it would still stand to permanently lose federal contracts and all associated

sources of revenue in retaliation. Accordingly, Defendants’ coercive tactics may leave many

contractors with no ability to appeal to the judiciary to protect their rights.

        Additionally, the State of Texas’s labor market is threatened as a result of the

Contractor Mandate—which will cause significant, concrete financial harm to the State in the

form of unemployment benefits and increased Medicaid expenses. TWC reports that each

individual unemployment claim, paid each Sunday for 52 weeks, is at a minimum worth $3,640

and at a maximum worth $27,820.38 Each person who is forced into unemployment because

Defendants are seeking to condition their livelihoods on the violation of a religious or personal

belief reflects an increased cost to the State. And there are countless Texans who could be

affected.

        Across the State of Texas, people are already being confronted with the horrible reality

that they may lose their jobs if they are not willing to lose their rights and abandon their

convictions. Employees of the federal contractor Consolidated Nuclear Security LLC, Pantex

Plant, (“Pantex”), indicate that they will be forced to quit their jobs if their requests for

religious exemptions are not approved. Among those employees is a Senior Contract

Administrator whose termination would cause a major disruption in Pantex operations and

will place a devastating hardship on his family. 39 Another employee, the Nuclear High


38
  See https://www.twc.texas.gov/jobseekers/eligibility-benefit-amounts (last visited Nov. 14, 2021).
39
  Declaration of Senior Contract Administrator for Consolidated Nuclear Security LLC, Pantex Plant,
James Carducci, Exhibit M.

Texas’s Motion for Temporary Restraining Order & Preliminary Injunction                           8
     Case 3:21-cv-00309 Document 6 Filed on 11/15/21 in TXSD Page 10 of 33




Explosive Operations Supervisor who supervises over 60 Pantex employees, attests that his

termination could ultimately put national security at risk as it may cause delay in the shipment

date of weapons. 40

        Michael Ford, a 36-year veteran of the nuclear industry and former member of the

Texas Radiation Advisory Board and Chair of the Texas Low-Level Radioactive Waste

Disposal Compact Commission, has personal knowledge of the nearly 100 Pantex employees

who will be terminated if they do not accede to the vaccine mandate. 41 Mr. Ford attests that

not only would their terminations cause massive disruption to the nuclear weapon enterprise,

but their resignations also jeopardize the obligations of Department of Energy’s National

Nuclear Security Administration. 42 The disruption would directly impact the building, storing,

repairing, and maintaining of nuclear weapons in the United States. 43

        Pilots and flights attendants of American Airlines indicate they will be forced to quit

their jobs if their requests for religious exemptions are not approved. Among those employees

is an American Airlines First Officer who flies international and domestic flights 44 and a 34-

year veteran Flight Attendant whose resignation would have downstream effects on the

operations of American Airlines. 45 If pilots and flight attendants are forced to resign en masse,




40
   Declaration of the Nuclear High Explosive Operations Supervisor for Pantex, Justin Whitehead,
Exhibit N, ¶¶ 4, 10–12.
41
   Declaration of Michael Ford, Exhibit O, ¶¶ 2–5.
42
   Id at ¶ 9.
43
   Id at ¶ 19.
44
   Declaration of an American Airlines First Officer, Tinna Perlman, Exhibit P, ¶ 3.
45
   Declaration of Flight Attendant, Lori Arcayna, Exhibit Q.

Texas’s Motion for Temporary Restraining Order & Preliminary Injunction                         9
     Case 3:21-cv-00309 Document 6 Filed on 11/15/21 in TXSD Page 11 of 33




the fallout could include flight cancellations, extreme delays, and the loss of highly-trained

pilots—not to mention the detrimental effects on the affected families. 46

        Geoffrey Tahuahua, President of the Associated Builders and Contractors of Texas

(“ABCTX”), a state chapter of the national Associated Builders and Contractors Association

(“ABC”), details the devastating effects the Contractor Mandate will have on his industry. 47

ABCTX and ABC, as a whole, represent many private businesses that regularly bid on and are

awarded federal government contracts. 48 Both ABCTX and ABC’s general contractors won

57% of the $118 billion in direct federal U.S. construction contracts exceeding $25 million

awarded during fiscal years 2009-2020. 49 The Contractor Mandate will have a resounding

effect on the already devastating nation-wide worker shortage where, in the construction

industry alone, there is already a shortage of approximately 430,000 workers needed to fulfill

the existing demands for construction in the U.S. 50 An August 2021 ABC survey of its federal

contractor members found that 77% of survey respondents said vaccine mandates will increase

costs on federal construction projects; only a measly 1.2% of survey respondents said that the

vaccine mandate would decrease costs. 51 Finally, the ABC survey found that 49% of the survey

respondents reported they would be less likely to bid on federal contracts subjected to vaccine

requirements. 52



46
   See, e.g., Ex. Q, ¶¶ 4, 7; Ex. P ¶¶ 9–10, 13.
47
   Declaration of President of the Associated Builders and Contractors of Texas, Geoffrey Tahuahua,
Exhibit R.
48
   Id at ¶ 4.
49
   Id at ¶ 8 n.5.
50
   Id at ¶ 9 n.6.
51
   Id at ¶ 10.
52
   Id.

Texas’s Motion for Temporary Restraining Order & Preliminary Injunction                         10
     Case 3:21-cv-00309 Document 6 Filed on 11/15/21 in TXSD Page 12 of 33




        These stories are only a handful of examples that illustrate the damage done by

Defendants’ illegal acts. There have also been numerous reports regarding the effects of

Contractor Mandate on the Texas labor force since September 9, 2021. 53 With impending

deadlines to comply with forced vaccination or lose billions of dollars in federal contracts,

Texas stands to suffer imminent and irreparable harm.

                                          II.      ARGUMENT

        A plaintiff seeking a temporary restraining order or preliminary injunction must

establish (1) that it is likely to succeed on the merits of its claims, (2) “that he is likely to suffer

irreparable harm in the absence of preliminary relief,” (3) “that the balance of equities tips in

his favor,” and (4) “that an injunction is in the public interest.” Winter v. Nat. Res. Def. Council,

Inc., 555 U.S. 7, 20 (2008). The standards for securing a temporary restraining order or

preliminary injunction are substantively the same. Clark v. Prichard, 812 F.2d 991, 993 (5th Cir.

1987); Texas v. U.S., 524 F. Supp. 3d 598, 651 (S.D. Tex. 2021). To preserve the status quo,

federal courts have regularly enjoined federal agencies from implementing and enforcing new


53
    See, e.g., Vaccine Mandate Could Make Nursing Home Staff Shortage Worse, September 10, 2021,
https://www.newswest9.com/article/news/health/coronavirus/vaccine/vaccine-mandate-nursing-
home-staff-shortage/513-02e9c098-14c3-4311-bfc5-e8144c8fe1b3 (last visited Nov. 14, 2021); Job
Creators Network says companies losing 30% of workforce due to vaccine mandate,
https://katv.com/news/nation-world/job-creators-network-says-companies-losing-30-of-
workforce-due-to-vaccine-mandate (last visited Nov. 14, 2021); Raytheon warns of worker losses as
companies          impose    vaccine     mandate,     https://www.reuters.com/business/healthcare-
pharmaceuticals/raytheon-will-lose-several-thousand-workers-due-covid-19-vaccine-mandate-ceo-
2021-10-26/ (last visited Nov. 14, 2021); Business group warns of mass layoffs and ‘catastrophic’
supply            chain        disruptions       from          Biden        vaccine            mandate,
https://www.cnn.com/2021/10/22/business/vaccine-supply-chain-biden/index.html (last visited
Nov. 14, 2021); Taylor Mitchell, “Amarillo Bell Helicopter employees hold peaceful protest regarding
COVID-19            vaccine    mandate,”    KFDA         (Oct.     20,    2021),         available      at
https://www.newschannel10.com/2021/10/21/amarillo-bell-helicopter-employees-hold-peaceful-
protest-regarding-covid-19-vaccine-mandate/ (last visited Nov. 14, 2021); see also, e.g., Sw. Pilots Ass’n
v. Sw. Airlines, No. 3:21-cv-02608-M (N.D. Tex. filed Oct. 20, 2021).

Texas’s Motion for Temporary Restraining Order & Preliminary Injunction                                11
     Case 3:21-cv-00309 Document 6 Filed on 11/15/21 in TXSD Page 13 of 33




regulations pending litigation challenging them. See, e.g., Texas v. U.S., 787 F.3d 733 (5th Cir.

2015) (enjoining executive order inconsistent with immigration statutes); Texas v. U.S., 524 F.

Supp. 3d at 667.

A.      Texas is likely to succeed on the merits of its claims.

        Executive Orders and the rules and agency guidance that implement them are subject

to judicial review. Gomez v. Trump, 485 F. Supp. 3d 145, 177 (D.D.C. 2020); see also Coliseum

Square Ass’n, Inc. v. Jackson, 465 F.3d 215, 232 (5th Cir. 2006); Chamber of Commerce of U.S. v.

Reich, 74 F.3d 1322, 1324 (D.C. Cir. 1996); Associated Builders & Contractors of Se. Tex. v. Rung,

Civ. A. No. 1:16-cv-425, 2016 WL 8188655, at *5 (E.D. Tex. Oct. 24, 2016). Texas challenges

the Executive Order and its implementation by Defendants on both statutory and

constitutional grounds and is likely to succeed on the merits of its claims, because the

Contractor Mandate is unlawful. First, the President acted ultra vires in issuing the Executive

Order. Second, Defendants failed to conduct notice and comment as required under the

Procurement Policy Act. Third, the Contractor Mandate violates the APA, and the members

of the FAR Council acted ultra vires when they issued the FAR Guidance and its accompanying

Deviation Clause. Finally, the Contactor Mandate violates the United States Constitution.

                1. The President acted ultra vires in issuing the Executive Order.

        Executive Orders issued pursuant to the President’s authority under the Procurement

Act are subject to judicial review. Chamber of Commerce of U.S. v. Reich, 74 F.3d 1322, 1330 (D.C.

Cir. 1996). When the President exceeds his authority under the Procurement Act, the President

acts ultra vires and the Executive Order may be deemed unconstitutional. See id. at 1328; see also

Gomez, 485 F. Supp. 3d at 177 (holding that challenges to a president’s executive order can be


Texas’s Motion for Temporary Restraining Order & Preliminary Injunction                        12
     Case 3:21-cv-00309 Document 6 Filed on 11/15/21 in TXSD Page 14 of 33




brought as either an ultra vires claim or a statutory cause of action). The President acted ultra

vires in issuing the Executive Order for two reasons. First, the Executive order does not have

any nexus to the purposes of the Procurement Act. Second, the President does not have the

authority under the Procurement Act to issue government-wide procurement regulations.

                    a. The Executive Order does not have any nexus to the purpose of the Procurement
                       Act.

        The purpose of the Procurement Act is to provide the Federal Government with an

“economical and efficient system” for, among other things, procuring and supplying property

and nonpersonal services. 40 U.S.C. § 101. The Procurement Act permits the President to

prescribe certain “policies and directives” within the scope of the Act. 40 U.S.C. § 121(a).

Necessarily, he also lacks power to issue directives completely unrelated to contracting and

instead based on his own social and public health policy preferences. Cf. BST Holdings, slip op.

at 12 (recognizing that stated rationale for related OSHA vaccination mandate was

“pretextual”). The President’s power under the Procurement Act must be exercised

consistently with the structure and purposes of the statute that delegates that power—namely,

efficiency and economy in procurement. See Reich, 74 F.3d at 1330. The President may only

issue executive orders that have a “reasonably close nexus” to those purposes of the

Procurement Act; he does not have unfettered authority to issue directives based simply on

what “he believes will likely result in savings to the government.” Id. at 1330–31; see Liberty

Mut. Ins. Co. v. Friedman, 639 F.2d 164, 171 (4th Cir. 1981); 40 U.S.C. § 101.

        Here, the link between the Contractor Mandate and economy and efficiency is far too

attenuated to lie reasonably within the contemplation of the Procurement Act. For example,



Texas’s Motion for Temporary Restraining Order & Preliminary Injunction                                13
     Case 3:21-cv-00309 Document 6 Filed on 11/15/21 in TXSD Page 15 of 33




under the Task Force Directive, a “covered contractor workplace” includes any location

controlled by a covered contractor where a covered contract employee is likely to be present.

Dkt. #1-2 at 10. This would require entire contractor offices to be vaccinated even if only one

employee has a tangential connection to a covered contract. At the same time, a “covered

contractor workplace” does not include the residence of an individual working on a covered

contract, which leads to the result that an employee working remotely who works “on or in

connection with” a covered contract is required to be vaccinated, although a family member

in the same household who works for the same contractor (but not on a covered contract) is

not. These rules and their outcomes are nonsensical. There is no efficiency gained by

Defendants’ one-size-fits-all, overbearing, and coercive approach to the multi-faceted and

difficult question of how to fight COVID-19 and preserve individual liberty.

        Moreover, the Executive Order is on even shakier ground in its extension to

subcontractors, as subcontractors have “no direct connection to federal procurement.” Liberty

Mut. Ins. Co., 639 F.2d at 171. As such, Defendants must demonstrate both that the

requirements of the Executive Order on subcontractors bear a reasonably close nexus to the

purposes of the Procurement Act and that the statutory grant of authority to the President

reasonably contemplates the President’s authority to impose those requirements on

subcontractors. Id. at 168, 170.

        The case for “efficiency and economy” in federal contracting is further undermined by

the overwhelming evidence of the negative consequences of the Contractor Mandate.

Resignations or layoffs of unvaccinated employees of federal contractors do nothing to aid

these purposes. In Texas, many areas of the economy and workforce are threatened by


Texas’s Motion for Temporary Restraining Order & Preliminary Injunction                     14
        Case 3:21-cv-00309 Document 6 Filed on 11/15/21 in TXSD Page 16 of 33




Defendants’ illegal acts, and rising unemployment would result in direct financial harm to the

State. 54 The evidence of economic disruption is too overwhelming to ignore, yet Defendants

have scarcely considered it. 55

          Defendant’s attempt to impose sweeping controls on many millions of Americans via

procurement is a question of deep economic and political significance, and Congress did not

intend—nor does the Procurement Act allow—the President to exercise such broad authority

under the guise of “procurement” in the absence of clear and explicit congressional

authorization. See Util. Air Regul. Grp. v. EPA, 573 U.S. 302, 324 (2014) (holding that Congress

must “speak clearly if it wishes to assign . . . decisions of vast economic and political

significance”). The COVID-19 virus “does not remove constitutional limitations safeguarding

essential liberties,” and it does not extend the President’s authority under the Procurement

Act. Id. (quoting Home Building & Loan Assn. v. Blaisdell, 290 U.S. 398, 426 (1934)). “Whatever

power the United States Constitution envisions for the Executive . . . it most assuredly

envisions a role for all three branches when individual liberties are at stake.” Hamdi v. Rumsfeld,

542 U.S. 507, 536 (2004). This is particularly poignant here where the Executive Order requires

Texans to receive a vaccination—an act that can never be undone.

          The Procurement Act does not authorize the President to achieve his public health or

social policy objectives through COVID-19 vaccination mandates. The President exceeded his

statutory authority and acted ultra vires in issuing the Executive Order.




54
     See https://www.twc.texas.gov/jobseekers/eligibility-benefit-amounts; see also Exs. M–Q.
55
     See id.

Texas’s Motion for Temporary Restraining Order & Preliminary Injunction                         15
     Case 3:21-cv-00309 Document 6 Filed on 11/15/21 in TXSD Page 17 of 33




                    b. The Executive Order exceeds the President’s grant of authority.

        The Procurement Act permits the President to prescribe certain “policies and

directives” within the scope of the Act. 40 U.S.C. § 121(a). This grant of authority to the

President is distinct from that of the GSA Administrator: while the President is authorized to

prescribe “policies and directives,” the Administrator “may prescribe regulations.” 40 U.S.C.

§ 121(a), (c) (emphasis added); see also Sosa v. Alvarez-Machain, 542 U.S. 692, 711 n.9 (2004)

(“[W]hen the legislature uses certain language in one part of the statute and different language

in another, the court assumes different meanings were intended.”). Under the Procurement

Policy Act (and subject to only limited exceptions), the FAR Council has the exclusive

authority to issue “a single [g]overnment-wide procurement regulation.” 41 U.S.C.

§ 1303(a)(1). 56 The Procurement Act does not authorize the President to issue government-

wide procurement regulations with the force and effect of law. But that is exactly what the

President does in his Executive Order. The President’s Executive Order demands the FAR

Council “amend the [FAR] to provide for inclusion in [f]ederal procurement solicitations and

contracts subject to this order” the contract clause discussed in the Executive Order and

directs agencies to implement the contract clause in contracts not covered by the FAR. 86

Fed. Reg. at 50,986. The power to amend the FAR—with government-wide effect—rests only




56
   The Procurement Policy Act allows the OFPP Administrator to issue government-wide regulations
if the Department of Defense, NASA, and GSA are unable to agree on or fail to issue regulations. 41
U.S.C. § 1121(d). The OFPP Administrator may also remove a regulation if it is inconsistent with the
FAR. Id. § 1303(a)(5).

Texas’s Motion for Temporary Restraining Order & Preliminary Injunction                          16
     Case 3:21-cv-00309 Document 6 Filed on 11/15/21 in TXSD Page 18 of 33




with the FAR Council. 41 U.S.C. § 1303(a)(1)–(2). 57 Simply put, the President’s arrogation of

this authority to himself is unlawful.

        The Procurement Act contains no authority for the President to leverage the federal

government’s procurement authorities into a nationwide vaccine mandate in the name of

promoting “economy and efficiency.” And the Procurement Act itself certainly does not

authorize a vaccine mandate. Such a brazen assumption of power violates the Major Questions

Doctrine. Congress does not delegate decisions of major economic and social significance “in

so cryptic a fashion.” FDA v. Brown & Williamson Tobacco Corp., 529 U.S. 120, 160–61 (2000). 58

“Courts expect Congress to speak clearly when authorizing an agency to exercise powers of

vast economic and political significance.” BST Holdings, slip op. at 22 (Duncan, J., Concurring)

(quoting Ala. Ass’n of Realtors v. Dep’t of Health & Human Servs., 141 S. Ct. 2485, 2489 (2021))

(cleaned up) The grant of authority to the President through the Procurement Act is limited,

and the President has acted ultra vires in issuing the Executive Order and imposing the

Contractor Mandate.

                2. Defendants failed to conduct notice and comment under the
                   Procurement Policy Act.

        The FAR Council Directive and Deviation Clause, OMB Rule, and Task Force

Directive all suffer the same defect: Defendants failed to conduct notice and comment

required under 41 U.S.C. § 1707(a)–(b). Under 41 U.S.C. § 1707(a)–(b), a procurement “policy,



57
   Indeed, the FAR itself requires notice and comment for “proposed significant revisions” to it. 48
C.F.R. § 1.501–2; see Part II(A)2 infra.
58
   Even if the Court considers 40 U.S.C. § 121(a) to give the President broad authority, courts “do not
construe broad grants of authority . . . as assigning [judicially] unreviewable decisions of vast economic
and political significance.” See Texas v. U.S., 787 F.3d at 760–61.

Texas’s Motion for Temporary Restraining Order & Preliminary Injunction                                17
        Case 3:21-cv-00309 Document 6 Filed on 11/15/21 in TXSD Page 19 of 33




regulation, procedure, or form” must go through notice and comment if it “relates to the

expenditure of appropriated funds” and either “has a significant effect beyond the internal

operating procedures of the agency issuing the policy, regulation, procedure, or form” or has

“a significant cost or administrative impact on contractors or offerors.” “[T]he language of [§

1707] is broad” and applies to “any procurement policy, regulation, procedure, or form . . .

relating to the expenditure of appropriated funds” “down to the lowest level”—in other

words, “all procurement regulations.” Munitions Carriers Conf., Inc. v. United States, 932 F. Supp.

334, 338 (D.D.C. 1996), rev’d on other grounds, 147 F.3d 1027 (D.C. Cir. 1998) (internal quotation

marks omitted) (emphasis added). The FAR Council Directive and Deviation Clause, OMB

Rule, and Task Force Directive are all subject to the notice and comment requirement as

procurement regulations. They all relate to the expenditure of appropriated funds, have a

significant effect beyond internal operating procedures, and impose a significant cost and

administrative impact on Texas and contractors in Texas. 59

          Though framed as non-binding guidance, agencies are treating the FAR Council

Directive as binding. 60 See Texas v. EEOC, 933 F.3d 433, 441–42 (5th Cir. 2019) (explaining

that agency action treated as binding is reviewable as a final agency action); see also Texas v.

U.S., 787 F.3d at 764 (explaining that an agency’s characterization of its own action as

“guidance” or a “policy statement” is not determinative). The FAR Council Directive goes so

far as to give pre-approval of the Deviation Clause, providing that “agencies that adopt the

[deviation] clause language without change in their deviations will be presumed to have



59
     Exs. G, J, M–R.
60
     Exs. G–J.

Texas’s Motion for Temporary Restraining Order & Preliminary Injunction                         18
     Case 3:21-cv-00309 Document 6 Filed on 11/15/21 in TXSD Page 20 of 33




consulted with the Chair of the Civilian Agency Acquisition Council” as “required by FAR

1.404(a)(1).” Dkt. #1-2 at 27. 61

        Even if it were not binding, the FAR Council Directive is still a procurement “policy”

subject to the notice and comment requirements of 41 U.S.C. § 1707. The Procurement Policy

Act’s notice and comment requirement applies to non-binding “policies.” Courts “must give

effect, if possible, to every clause and word of a statute.” Loughrin v. United States, 573 U.S. 351,

358 (2014) (quoting Russello v. United States, 464 U.S. 16, 23 (1983)). Here, Congress’s inclusion

of both regulations and policies in the notice and comment requirement indicates its intent to

cover non-binding government policy pronouncements. See Bailey v. United States, 516 U.S. 137,

146 (1995) (“We assume that Congress used two terms because it intended each term to have

a particular, nonsuperfluous meaning.”).

        Moreover, the FAR itself requires “significant revisions” to the FAR be posted for

notice and comment. 48 C.F.R. § 1.501-2. “Significant revisions” includes any revisions “which

have a significant cost or administrative impact on contractors or offers, or a significant effect

beyond the internal operating procedures of the issuing agency.” Id. § 1.501-1. Changes to the

FAR that do not require notice and comment include “editorial, stylistic, or other revisions that

have no impact on the basic meaning of the coverage being revised.” Id. The FAR Council

Directive implementing the Task Force Directive is clearly a significant revision that required


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  Similarly, the Executive Order stipulates that contractors’ and subcontractors’ compliance with the
Task Force Directive is mandatory: “[T]he Safer Federal Workforce Task Force (Task Force) shall, as
part of its issuance of Task Force Guidance, provide definitions of relevant terms for contractors and
subcontractors, explanations of protocols required of contractors and subcontractors to comply with
workforce safety guidance, and any exceptions to Task Force Guidance that apply.” Dkt. #1-2 at 1
(emphasis added).


Texas’s Motion for Temporary Restraining Order & Preliminary Injunction                            19
     Case 3:21-cv-00309 Document 6 Filed on 11/15/21 in TXSD Page 21 of 33




notice and comment. Simply put, Defendants were required to go through the notice-and-

comment procedure, and they failed to do so.

        Defendants could only explain their failure to conduct notice and comment by

invoking the exception in § 1707(d). But they have not—and cannot. That exception only

applies when “urgent and compelling circumstances make compliance with the requirements

impracticable,” 41 U.S.C. § 1707(d), and it must be invoked by designating the action as

“temporary” and providing a thirty-day comment period, id. § 1707(e). Defendants have not

done so. And even if they had, there is no reason to think that notice and comment was

impracticable; the entire globe has weathered COVID-19 for nearly two years now and access

to vaccination is not new. See BST Holdings, slip op. at 7. And it makes sense that the

Defendants did not invoke this exception, because—as the Biden Administration assures us—

“the virus poses . . . little risk at all” to the “more than seventy-eight percent of Americans aged

12 and older either fully or partially inoculated against it.” Id. at 11 (emphasis in original).

        For these reasons, the FAR Council Directive and Deviation Clause, OMB Rule, and

Task Force Directive are subject to notice and comment and violate the procedural

requirements of the Procurement Policy Act, 41 U.S.C. §1707.

                3. The Contractor Mandate violates the APA, and the members of the
                   FAR Council acted ultra vires .

                         a. The OMB Rule and the FAR Council Directive and Deviation Clause are
                            arbitrary and capricious.

        Under the APA, a court must “hold unlawful and set aside agency action” that is

“arbitrary and capricious.” See 5 U.S.C. § 706 (2)(A). An agency action is arbitrary or capricious

if it fails to “articulate a satisfactory explanation for its action including a rational connection


Texas’s Motion for Temporary Restraining Order & Preliminary Injunction                            20
     Case 3:21-cv-00309 Document 6 Filed on 11/15/21 in TXSD Page 22 of 33




between the facts found and the choice made.” Motor Vehicle Mfrs. Ass’n of U.S., Inc. v. State

Farm Mut. Auto. Ins. Co., 463 U.S. 29, 43 (1983). Neither the OMB Rule nor the FAR Council

Directive contain any reasoning or explanation for how they promote economy and efficiency

in procurement other than a boiler plate conclusory statement. 86 Fed. Reg. at 53,691–92. The

Procurement Act’s “policy directive to pursue economy and efficiency implicates numbers,

measurement, and accountability and supplies a meaningful standard against which to evaluate

an agency’s exercise of discretion.” Diebold v. U.S., 947 F.2d 787, 796 (1991). Mere executive

fiat falls well short of the requirement of a “satisfactory explanation.” See State Farm, 463 U.S.

at 43.

         Neither the OMB Rule nor the FAR Council Directive provide any reasoning or

explanation for how they promote economy and efficiency in procurement such that a Court

could find a “rational connection between the facts found and the choice made.” See State

Farm., 463 U.S. at 43. This alone renders both the OMB Rule and the FAR Council Directive

arbitrary and capricious. “[W]here the agency has failed to provide even that minimal level of

analysis, its action is arbitrary and capricious and so cannot carry the force of law.” Encino

Motorcars, LLC v. Navarro, 579 U.S. 211, 136 S. Ct. 2117, 2125 (2016). Courts “do not defer to

the agency’s conclusory or unsupported suppositions,” United Techs. Corp. v. U.S. Dep’t of Def.,

601 F.3d 557, 562 (D.C. Cir. 2010), nor are agency actions “involving an issue of deep

economic and political significance” entitled to deference, City & Cnty. of San Francisco v. Trump,

897 F.3d 1225, 1242 (9th Cir. 2018) (cleaned up). And this Court cannot “supply a reasoned

basis for the agencies’ actions that the agencies themselves have not given.” Id. (cleaned up).




Texas’s Motion for Temporary Restraining Order & Preliminary Injunction                         21
       Case 3:21-cv-00309 Document 6 Filed on 11/15/21 in TXSD Page 23 of 33




Nor can the agency’s litigation counsel. Motor Vehicle Mfrs. Ass’n v. State Farm, 463 U.S. 29, 50

(1983) (“courts may not accept appellate counsel’s post hoc rationalizations for agency action”).

         Moreover, the OMB Rule and the FAR Council Directive do not promote economy

and efficiency, as discussed above. 62 It is clear that the OMB Rule and Far Council Directive

ignored costs to the States, which is a “centrally relevant factor when deciding whether to

regulate.” Michigan v. EPA, 576 U.S. 743, 752–53 (2015). “Consideration of cost reflects the

understanding that reasonable regulation ordinarily requires paying attention to the advantages

and the disadvantages of agency decisions.” Id. (emphasis in original).

         Further, the OMB Rule and the FAR Council Directive do not account for Texas’s

reliance interests on the previous policy of not requiring vaccines. See Navarro, 136 S. Ct. at

2126–27; DHS v. Regents of the Univ. of Cal., 140 S. Ct. 1891, 1914–15 (2020). “Because it is

generally arbitrary or capricious to depart from a prior policy sub silentio, agencies must typically

provide a detailed explanation for contradicting a prior policy, particularly when the prior

policy has engendered serious reliance interests.” BST Holdings, slip op. at 12. Neither the OMB

Rule nor the FAR Council Directive explain how vaccination will promote economy and

efficiency in procurement—much less explain why mandatory vaccination is now an issue

within the ambit of the Procurement Act.

         Finally, the purported purpose of the Contractor Mandate is a pretense. The OMB

Rule’s conclusory assertion that compliance with the Task Force Directive “will improve

economy and efficiency by reducing absenteeism and decreasing labor costs” is pretextual and




62
     Exs. M–R.

Texas’s Motion for Temporary Restraining Order & Preliminary Injunction                           22
        Case 3:21-cv-00309 Document 6 Filed on 11/15/21 in TXSD Page 24 of 33




a trojan horse for regulation of public health. Dkt. #1-2 at 23; see Dep’t of Commerce v. New York,

139 S. Ct. 2551, 2575–76 (2019). The FAR Council Directive admits that the goal of the

Executive Order and its implementation is “getting more people vaccinated and decreas[ing]

the spread of COVID-19.” Dkt. #1-2 at 27. President Biden himself has expressed little

tolerance for those who do not share his views on vaccination, which he put on public display

when he announced that his “patience was wearing thin” with Americans who choose not to

receive the COVID-19 vaccine. 63 “After the President voiced his displeasure with the

country’s vaccination rate in September, the Administration pored over the U.S. Code in

search of authority, or a ‘work-around,’ for imposing a national vaccine mandate.” BST

Holdings, slip op. at 7–8. And President Biden’s public statements threatening to “use [his]

power as President” against those who disagree with his views on vaccination leave no doubt

that the true purpose of the Contractor Mandate is to exercise unprecedented control over

social policy and public health in the most profound way. It strains credulity to suggest

otherwise.

          Courts are “not required to exhibit a naivete from which ordinary citizens are free.”

Dep’t of Commerce, 139 S. Ct. at 2575. “The reasoned explanation requirement of administrative

law . . . is meant to ensure that agencies offer genuine justifications for important decisions,

reasons that can be scrutinized by courts and the interested public. Accepting contrived

reasons would defeat the purpose of the enterprise.” Id. at 2575–76. And indeed, as the Fifth




63
     Supra n.8.

Texas’s Motion for Temporary Restraining Order & Preliminary Injunction                         23
     Case 3:21-cv-00309 Document 6 Filed on 11/15/21 in TXSD Page 25 of 33




Circuit held last week, “courts have an affirmative duty not to” “turn a blind eye to the

statements” of those promulgating these extreme mandates. BST Holdings, slip op. at 11.

                    b. The FAR Council exceeded its statutory authority in issuing the FAR Council
                       Directive and Deviation Clause.

        Under the APA, a court must “hold unlawful and set aside agency action” that is

“arbitrary, capricious, an abuse of discretion, or otherwise not in accordance with law” or “in

excess of statutory . . . authority, or limitations, or short of statutory right.” See 5 U.S.C.

§ 706(2)(A), (C). The FAR Council is a federal agency tasked with “assist[ing] in the direction

and coordination of Government-wide procurement policy and Government-wide

procurement regulatory activities in the Federal Government.” 41 U.S.C. § 1302. But the FAR

Council Directive admits that it (and the Deviation Clause) were issued to further the goal of

the Task Force Directive and Executive Order, namely, to “get[] more people vaccinated.”

Dkt #1-2 at 25-27. There is no connection between this requirement and the legitimate

procurement policy objectives it is authorized by law to promulgate.

        The FAR Council exceeded its statutory authority in issuing the FAR Council Directive

creating a government-wide vaccine mandate for contractors, and it is not shielded from

judicial review merely because it was implementing the President’s Executive Order. See Reich,

74 F.3d at 1328 (“That the ‘executive’s’ action here is essentially that of the President does not

insulate the entire executive branch from judicial review. . . [C]ourts have power to compel

subordinate executive officials to disobey illegal Presidential commands.” (internal quotation

marks omitted)).




Texas’s Motion for Temporary Restraining Order & Preliminary Injunction                              24
     Case 3:21-cv-00309 Document 6 Filed on 11/15/21 in TXSD Page 26 of 33




                    c. Defendants Carnahan, Nelson, and Austin acted ultra vires.

        Under 41 U.S.C. §§ 1301–1303(a), the Administrator of General Services, the Secretary

of Defense, and the Administrator of NASA constitute the FAR Council, and the FAR

Council is authorized to “jointly issue and maintain . . . a single Government-wide

procurement regulation, to be known as the Federal Acquisition Regulation.”

        The FAR Council is charged with “manag[ing], coordinat[ing], control[ling], and

monitor[ing] the maintenance of, issuance of, and changes in, the [FAR].” 41 U.S.C. § 1303(d).

As discussed above, the FAR Council did not act in accordance with the law and exceeded its

statutory authority when it issued the Guidance and Deviation Clause creating a government-

wide policy mandating vaccines for contractors. Accordingly, the members of the FAR

Council, Defendants Carnahan, Nelson, and Austin, as the Administrator of General Services,

the Secretary of Defense, and the Administrator of NASA, respectively, acted ultra vires and

exceeded the scope of their statutory authority. See Gomez, 485 F. Supp. 3d at 177 (holding that

ultra vires actions are available against Executive Branch officials who take action to implement

a president’s executive orders).

                4. Defendants’ actions violate the Constitution.

                    a. Unconstitutional delegation of legislative power.

        If Defendants contend that the Procurement Act’s delegation of authority to the

Executive is so broad that it authorizes him to impose a vaccine mandate on contractors as a

condition to procurement contracts, then the Procurement Act violates the nondelegation

doctrine because it lacks any “intelligible principle” to guide the President’s actions. See A.L.A.

Schechter Poultry Corp. v. United States, 295 U.S. 495, 529–30 (1935). “In the absence of a clear


Texas’s Motion for Temporary Restraining Order & Preliminary Injunction                         25
     Case 3:21-cv-00309 Document 6 Filed on 11/15/21 in TXSD Page 27 of 33




mandate” in the Procurement Act, “it is unreasonable to assume that Congress intended to

give [the President] unprecedented power” over American social policy and public health. See

Indus. Union Dep’t, AFL-CIO v. American Petroleum Inst., 448 U.S. 607, 645 (1980). And if it did,

it would be unconstitutional under A.L.A. Schechter and Panama Refining Co. v. Ryan, 293 U.S.

388 (1935). Accordingly, if Congress wanted to delegate this authority to the President through

the Procurement Act—and there is no evidence that it did—then Congress’s attempt to do so

was unconstitutional. 64

                    b. Violations of the Spending Clause.

        “The United States Constitution exclusively grants the power of the purse to Congress,

not the President.” Trump, 897 F.3d at 1231 (citing U.S. Const. art. I, § 9, cl. 7; U.S. Const. art.

I, § 8, cl. 1). Without Congressional authorization, the President has no spending power of his

own. See id.; Trump, 897 F.3d at 1234–35. President Biden is unlawfully imposing conditions

on the receipt of federal funds—a matter not within his authority. See id.; Trump, 897 F.3d at

1233–35.

        Moreover, while Congress has the authority to contract under the Spending Clause,

U.S. Const. art. I, § 8, cl. 1, that power does not support the Contractor Mandate. “[I]f

Congress intends to impose a condition on the grant of federal moneys, it must do so



64
  Even if 40 U.S.C. § 121(a) could be read in such a way as to show that Congress had clearly
authorized the President to implement a national vaccination mandate for federal contractors, the
President is only authorized to further delegate his authority to officials confirmed by the Senate. See
3 U.S.C. § 301. Accordingly, the President’s delegation of authority to the Task Force is unlawful,
because the Task Force includes, for example, the Director of the CDC, who is not appointed
pursuant to the Appointments Clause. Cf. Exec. Order 13991 (Jan. 20, 2021) (establishing the Task
Force). Moreover, the President cannot delegate authority to implement the Contractor Mandate,
because he himself does not possess authority to issue such a mandate. See Part II(A)(1)–(2) infra.

Texas’s Motion for Temporary Restraining Order & Preliminary Injunction                              26
     Case 3:21-cv-00309 Document 6 Filed on 11/15/21 in TXSD Page 28 of 33




unambiguously,” so “States [can] exercise their choice knowingly.” Pennhurst State Sch. & Hosp.

v. Halderman, 451 U.S. 1, 17 (1981).

        The Contractor Mandate fails to “unambiguously” establish the contractual terms. The

Contractor Mandate conditions the receipt of federal funds on the States agreeing to a contract

term that is subject to change. Dkt. #1-2 at 29. The FAR Council Directive explicitly states

that contractors “shall comply with all guidance, including guidance conveyed through

Frequently Asked Questions, as amended during the performance of this contract.” Id. (emphasis

added). 65 Imposing such open-ended contractual requirements defies the clarity that the

Spending Clause requires. See Nat’l Federation of Indep. Bus. v. Sebelius, 567 U.S. 519, 584 (2012)

(“[T]he spending power . . . does not include surprising participating States with post-

acceptance . . . conditions.”).

        Texas is unable to enter into a contract knowing the conditions on which it is based

when changes may be made at any time. No contractor, whether a governmental entity or

otherwise, could have known that Defendants would claim for themselves a police power that

allowed them to force employees to undergo medical treatment as a condition of the contract.

Accordingly, the attempt to do so here is unconstitutional.

B.      Texas has standing and is irreparably harmed by the Contractor Mandate.

        Texas faces an imminent, irreparable, sovereign injury from the Contractor Mandate.

President Biden has previously announced that it is his “clear intention” to supersede and


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  Indeed, the Task Force Directive has already been updated since the filing of this lawsuit. See
COVID-19 Workplace Safety: Guidance for Federal Contractors and Subcontractors, Safer Federal Workforce
Task    Force,     (Nov.    10,      2021),     https://www.saferfederalworkforce.gov/downloads/
Guidance%20for%20Federal%20Contractors_Safer%20Federal%20Workforce%20Task%20Force_
20211110.pdf, attached as Exhibit S.

Texas’s Motion for Temporary Restraining Order & Preliminary Injunction                             27
     Case 3:21-cv-00309 Document 6 Filed on 11/15/21 in TXSD Page 29 of 33




preempt any State policies that differ from his mandates. 66 This assault stands in direct

contradiction to Texas’s GA-40, which bans any entity from requiring vaccination, and which

carries the force and effect of state law. 67 Numerous courts have made clear that preventing

the State from enforcing its laws is itself an irreparable harm. See, e.g., Abbott v. Perez, 138 S. Ct.

2305, 2324 n.17 (2018) (“[T]he inability to enforce its duly enacted plan clearly inflicts

irreparable harm on the State.”); Maryland v. King, 567 U.S. 1301, 1303 (2012) (Roberts, C.J., in

chambers) (“Any time [a State is blocked] from effectuating statutes enacted by representatives

of its people, it suffers a form of irreparable injury.”); Org for Black Struggle v. Ashcroft, 978 F.3d

603, 609 (8th Cir. 2020). When the State is blocked from implementing its laws, “the State

necessarily suffers the irreparable harm of denying the public interest in the enforcement of

its law.” Planned Parenthood of Greater Tex. Surgical Health Servs. v. Abbott, 734 F.3d 406, 419 (5th

Cir. 2013); Coal. For Econ. Equity v. Wilson, 122 F.3d 718, 719 (9th Cir. 1997).

        Moreover, the negative consequences of the Contractor Mandate also threaten to

irreparably harm the State. Governmental entities with programs that provide vital services to

both Texas and the nation as a whole could be eliminated. 68 Businesses, their employees, and

families across the State and in many areas of the economy will be negatively impacted, with

potentially devastating consequences for the State. 69 The State’s traditional police power and

its laws are threatened. See BST Holdings, slip op. at 16–17, 19 (holding that mandating “a

person receive a vaccine or undergo testing falls squarely within the States’ police power” and



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   Supra n. 3, n.8.
67
   Supra n. 3; Exs.B–C.
68
   Exs. I–L.
69
   Exs. G–R.

Texas’s Motion for Temporary Restraining Order & Preliminary Injunction                             28
        Case 3:21-cv-00309 Document 6 Filed on 11/15/21 in TXSD Page 30 of 33




States are irreparably harmed by federal overreach into their “constitutionally reserved police

power over public health”). The loss of individual liberty and the trampling of religious

freedom cannot be remedied. Simply put, if the Contractor Mandate is permitted to go into

effect, the State of Texas’s sovereignty will be affronted, and all Americans’ rights will be

forever diminished.

C.        The balance of the equities and public interest favor preliminary injunctive
          relief.

          When governmental action is implicated, the third and fourth factors merge. Nken v.

Holder, 556 U.S. 418, 435 (2009). In order to preserve the relative positions of the parties until

a trial on the merits can be held, federal courts have regularly enjoined federal agencies from

implementing and enforcing new regulations pending litigation challenging them. Texas v. U.S.,

787 F.3d at 733. Here, the status quo since the early days of the pandemic in January 2020 has

been no federal vaccine mandates. Defendants should not be permitted to upset that status

quo through the abuse of the arcane federal procurement process.

          An injunction further promotes and protects the public interest by avoiding the myriad

harms that Defendants’ lawlessness will bring. Workers will be protected from having to

choose between their jobs and their liberty, and an injunction promotes economy and

efficiency during the current supply chain crisis, preventing disruptions within the federal

contractor workforce. 70 The Texas economy and vital government programs will be

protected. 71 And in addition to the overwhelming economic interests, the liberty interests at

stake here “are not reducible to dollars and cents.” BST Holdings, slip op. at 20. “The public


70
     See Exs.M–Q.
71
     See Exs. I–J.

Texas’s Motion for Temporary Restraining Order & Preliminary Injunction                        29
     Case 3:21-cv-00309 Document 6 Filed on 11/15/21 in TXSD Page 31 of 33




interest is also served by maintaining our constitutional structure and maintaining the liberty

of individuals to make intensely personal decisions according to their own convictions—even,

or perhaps particularly, when those decisions frustrate government officials.” Id.

        Preventing Defendants’ vaccination mandate from being imposed on federal

contractors is both equitable and in the public interest. Every American would remain free to

choose to get vaccinated, and businesses would remain free to impose other COVID-19

prevention measures that do not trample individual rights. Defendants could focus their

efforts on persuading the public, not coercing it, and the constitutional framework of a limited

federal government would remain intact. And what equities support Defendants’ cause? In the

name of “public health” they would convert the federal government into a police power that

can reach any aspect of American life—including forcing Americans to undergo medical

procedures. Whatever short-term benefit Defendants purport to achieve through their

Contractor Mandate, it cannot possibly outweigh the destruction of an American way of life

that is fundamentally threatened by their unlawful methods.

        The balance of the equities and the public interest favor the intervention of the Court

to preserve the status quo.

                                         III.    CONCLUSION

        For the foregoing reasons, the State of Texas respectfully requests that the Court enjoin

Defendants from implementing and enforcing the Contractor Mandate.




Texas’s Motion for Temporary Restraining Order & Preliminary Injunction                       30
     Case 3:21-cv-00309 Document 6 Filed on 11/15/21 in TXSD Page 32 of 33




                                                  Respectfully submitted.

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Texas’s Motion for Temporary Restraining Order & Preliminary Injunction                          31
     Case 3:21-cv-00309 Document 6 Filed on 11/15/21 in TXSD Page 33 of 33




                                  CERTIFICATE OF CONFERENCE

        I certify that I have conferred with counsel for Defendants at the U.S. Attorneys’ office,

and they have indicated they are opposed to the relief requested herein.


                                                          s/ Christopher D. Hilton
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                                      CERTIFICATE OF SERVICE

        I hereby certify that the foregoing document and all attachments were filed via

CM/ECF, causing electronic service on all counsel of record; were served on the U.S.

Attorneys’ office via email in accordance with their procedures; and are being served via

certified mail.



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Texas’s Motion for Temporary Restraining Order & Preliminary Injunction                        32
